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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 JSDQ MESH TECHNOLOGIES LLC,

                               Plaintiff,

        v.                                       Case No. 1:16-cv-00212-GMS

 FLUIDMESH NETWORKS, LLC (f/k/a
 FLUIDMESH NETWORKS, INC.),

                               Defendant.



         STIPULATION OF DISMISSAL OF FLUIDMESH WITH PREJUDICE

       Pursuant to Fed.R.Civ.P. 41(a)(1)(A)(ii), and in light of the “SETTLEMENT AND

LICENSE AGREEMENT” between the parties, Plaintiff JSDQ Mesh Technologies LLC and

Defendant Fluidmesh Networks, LLC hereby submit this Stipulation of Dismissal dismissing all

claims in this action WITH PREJUDICE as to Fluidmesh Networks, LLC with each party to bear

its own costs, expenses and attorneys’ fees.



Dated: December 29, 2016

                                               Respectfully submitted,

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Technologies LLC                       Networks, LLC (f/k/a Fluidmesh Networks,
                                       Inc.)




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